Case 1:11-cr-00755-JFK Document 449 Filed 10/

   

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA : "
~against- : No. 11 Cr. 755 (JFK}
: ORDER
JOVANNY RODRIGUEZ,
Defendant. :
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JOHN F. KEENAN, United States District Judge:

The Government is directed to file its response to
Defendant Jovanny Rodriguez’s pro se motion for compassionate
release, (ECF No. 448), by no later than November 5, 2020. The
Government is further directed to mail a copy of its response to
Rodriguez by November 5, 2020. Rodriguez shall have 30 days
from the date on which he is served with the Government’s
opposition to file a response. Absent further order, the motion
will be considered fully submitted as of that date.

The Clerk of Court is respectfully directed to
electronically notify the Criminal Division of the U.S.
Attorney's Office for the Southern District of New York that
this Order has been issued. The Court will mail a copy of this
Order to Rodriguez today.

SO ORDERED.

 

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Dated: New York, New York fe bere Keen,
October 20, 2020 if John F. Keenan
United States District Judge

 

 
